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    Portland, OR 97204
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              Attorneys for Pan and Law Creditors


                           UNITED STATES BANKRUPTCY COURT

                                    DISTRICT OF OREGON

     In re:                                         Case No. 22-31873-thp11

     Blue Moon Property Group, LLC                  PAN AND LAW CREDITORS
                                                    OBJECTION TO DEBTOR’S NOTICE
                                  Debtor.           OF SETTLEMENT, NOTICE OF
                                                    MOTION AND MOTION FOR
                                                    APPROVAL OF SETTLEMENT



              Creditors (a) Gretchen Pan, an individual; Gretchen Pan, as successor in

    interest to the Elizabeth Steiner Trust; and Xianghua 'Ed' Pan (collectively, the

    “Pans”) and (b) Darrel L. Deem, an individual; Darrel L. Deem, on behalf of his Roth

    IRA #14459; David G. Law, an individual; David G. Law, on behalf of his Roth IRA

    #11396; Janine W. Law, an individual; Janine W. Law, on behalf of her Roth IRA

    #12075; DJ Property Solutions, LLC, a Utah limited liability company; Deem Realty

    Funding, Inc., a Utah corporation; and Deem Investment Company, a Utah

    Corporation (collectively, the “Law Creditors”)) object to Debtor’s Notice of




Page 1    OBJECTION TO DEBTOR’S NOTICE OF SETTLEMENT,                       MOTSCHENBACHER & BLATTNER LLP
                                                                              117 SW Taylor Street, Suite 300
          NOTICE OF MOTION AND MOTION FOR APPROVAL                                Portland, Oregon 97204
          OF SETTLEMENT                                                            Phone: 503-417-0500
                                                                                    Fax: 503-417-0501
                                                                                    www.portlaw.com

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    Settlement, Notice of Motion and Motion for Approval of Settlement (the

    “Settlement Motion”) and in support of their objection, states as follows:

          The Pan and Law Creditors entered into a settlement agreement with the

    Debtor that expired on its own terms as of September 1, 2022. Therefore, no binding

    settlement agreement currently exists between the parties.

          Unless a new settlement agreement is entered into, and approved by the

    court, the Debtor’s Motion should be denied as the sole basis to approve the

    Settlement with the Law and Pan Creditors is Section 363(f)(2) (consent). Because

    there is no consent from the Pan and Law Creditors, no authority to approve the

    settlement exists.




          Dated March 31, 2023.             MOTSCHENBACHER & BLATTNER LLP

                                            /s/ TROY G. SEXTON
                                            Troy G. Sexton, OSB No. 115184
                                            Attorneys for the Pan and Law Creditors




Page 2   OBJECTION TO DEBTOR’S NOTICE OF SETTLEMENT,                      MOTSCHENBACHER & BLATTNER LLP
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         OF SETTLEMENT                                                           Phone: 503-417-0500
                                                                                  Fax: 503-417-0501
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                                CERTIFICATE OF SERVICE

           I hereby certify that on the date set forth below, a true and correct copy of the
    foregoing PAN AND LAW CREDITORS OBJECTION TO DEBTOR’S NOTICE OF
    SETTLEMENT, NOTICE OF MOTION AND MOTION FOR APPROVAL OF
    SETTLEMENT was provided to all participants of the Court’s CM/ECF System.


          DATED: March 31, 2023.

                                            MOTSCHENBACHER & BLATTNER LLP

                                            /s/ TROY G. SEXTON
                                            Troy G. Sexton, OSB No. 115184
                                            Attorneys for the Pan and Law Creditors




Page 3    CERTIFICATE OF SERVICE                                          MOTSCHENBACHER & BLATTNER LLP
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